                            UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MASSACHUSETTS
                                    EASTERN DIVISION


   In re
                                                                    Chapter 7
   NEW ENGLAND CONFECTIONERY
   COMPANY, INC.                                                    Case No. 18-11217-MSH

                     Debtor.


   HAROLD B. MURPHY,
   CHAPTER 11 TRUSTEE OF
   NEW ENGLAND CONFECTIONERY
   COMPANY, INC.,
                                                                    Adversary Proceeding
                                                                    No. 18-01140
                         Plaintiff,

   v.

   ACAS, LLC,


                         Defendant.

   and

   NECCO REALTY INVESTMENTS LLC,
   NECCO REALTY MA I LLC, NECCO
   REALTY MA II LLC AND NECCO
   REALTY MA III LLC,

                         Nominal
                          Document Defendants.
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   In re
                                                                    Chapter 7
   NEW ENGLAND CONFECTIONERY
   COMPANY, INC.                                                    Case No. 18-11217-MSH

                     Debtor.
  Case 19-01011       Doc 82      Filed 01/20/21 Entered 01/20/21 18:48:08          Desc Main
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 CHAPTER 11 TRUSTEE OF
 NEW ENGLAND CONFECTIONARY
 COMPANY, INC.,

                     Plaintiff,                             Adversary Proceeding
                                                            No. 19-01011
 v.

 ACAS, LLC, ARES CAPITAL
 CORPORATION, ARES CAPITAL
 MANAGEMENT LLC, MICHAEL
 MCGEE, MYUNG YI, ANUJ KHANNA,
 GORDON O’BRIEN, STEPHEN CHEHI,
 DANIEL KATZ, DOUGLAS WEEKES,
 AND DAVID EATON,

                     Defendants.



                                  SETTLEMENT AGREEMENT

       THIS SETTLEMENT AGREEMENT (“Agreement”) is entered into this 20th day of

January 2021, by and between Plaintiff, HAROLD B. MURPHY, in his capacity as the

appointed, qualified and serving Chapter 7 Trustee (the “Trustee”) of New England

Confectionery Company, Inc. (“NECCO” or the “Debtor”), on the one hand, and ACAS, LLC

(“ACAS”), Ares Capital Corporation (“ARCC”), Ares Capital Management LLC, Michael

McGee, Myung Yi, Anuj Khanna, Stephen Chehi, Daniel Katz, and nominal defendants NECCO

Realty Investments, LLC, NECCO Realty MA I LLC, NECCO Realty MA II LLC, NECCO

Realty MA III LLC (collectively, the “Defendants”) on the other hand. The Trustee and the

Defendants are referred to collectively as the “Parties,” and individually as a “Party.”

                                        BACKGROUND

       A.      On April 3, 2018, certain creditors of NECCO filed an involuntary petition for

relief under Chapter 7 of 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”) against NECCO in



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  the United States Bankruptcy Court for the District of Massachusetts (the “Bankruptcy Court”).

  This case is referred to as the “NECCO Bankruptcy Case.” NECCO voluntarily converted the

  Chapter 7 proceeding to a Chapter 11 proceeding in order to effectuate an expedited asset sale

  pursuant to Section 363 of the Bankruptcy Code to an affiliate of Gordon Brothers without

  opportunity for counteroffers.

          B.      On April 20, 2018, the Bankruptcy Court appointed Harold B. Murphy as the

  Chapter 11 trustee of the Debtor, who conducted a competitive sale process for the Debtor’s

  assets, solicited seven (7) counteroffers and ultimately consummated a sale to Round Hill

  Investments, LLC and its designee for $15,247,000.

          C.      Later, on January 15, 2019, the Bankruptcy Court granted the Trustee’s

  unopposed motion to convert the NECCO Bankruptcy Case back to a Chapter 7 proceeding. The

  Trustee was then appointed to serve as Chapter 7 trustee for NECCO.

          D.      On August 31, 2018, the Trustee initiated two actions against the Defendants:

  (i) Adversary Proceeding No. 18-01140 filed against ACAS and nominal defendants NECCO

  Realty Investments, LLC, NECCO Realty MA I LLC, NECCO Realty MA II LLC, NECCO

  Realty MA III LLC (collectively “NECCO Realty”); and (ii) a civil case filed against ACAS,

  ARCC, Ares Capital Management LLC, Michael McGee, Myung Yi, Anuj Khanna, Stephen

  Chehi, and Daniel Katz in the United States District Court for the District of Massachusetts. 1
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Case   civil caseDoc
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   The case initially named additional defendants Gordon O’Brien, Douglas Weekes, David Eaton, Ares Management
  LLC and Ares Management L.P. However, the Parties filed a joint stipulation of dismissal of Ares Management
  LLC and Ares Management L.P. D.I. 48, Case No. 19-01011. By an Order dated December 4, 2019, the Court
  dismissed all the claims against Mr. O’Brien. D.I. 63, No. 19-01011. By an Order dated January 31, 2020, the
  Court dismissed all of the claims against Mr. Weeks and Mr. Eaton. D.I. 67, No. 19-01011.

                                                       3
  Proceeding No. 19-01011. Together, these two cases are referred to as the “Adversary

  Proceedings,” and the claims in these two cases are referred to as the “Adversary Claims.”

          E.      In Adversary Proceeding 18-01140, the Trustee alleges that ACAS, which was an

  indirect shareholder of and a lender to NECCO, caused NECCO to take certain actions and to

  enter into certain transactions that, the Trustee claims, were intended to benefit ACAS rather

  than NECCO. The Trustee asserts that as a result of its alleged conduct, ACAS should be held

  liable for breach of fiduciary duty; that ACAS’s claims against NECCO should be disallowed,

  equitably subordinated or recharacterized; that payments allegedly made to or for the benefit of

  ACAS should be avoided under fraudulent transfer and preference theories; that various entities

  should be consolidated with one another; that the Trustee should obtain the benefit of certain

  value that was received by NECCO Realty; and that NECCO Realty’s rent claim against

  NECCO should also be disallowed.

          F.      In Adversary Proceeding 19-01011, the Trustee asserts that various officers and

  directors of NECCO (including Michael McGee, Myung Yi, Anuj Khanna, Stephen Chehi, and

  Daniel Katz) breached their fiduciary duty by permitting certain transactions to take place, and

  preventing others from taking place. The Trustee also asserts that ACAS, ARCC, and Ares

  Capital Management LLC aided and abetted the alleged breaches of fiduciary duty.

          G.      All of the Defendants in the Adversary Proceedings deny the Trustee’s claims in
                           Document     Page 4 of 45
  their
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          H.      On November 5, 2018, the Defendants filed motions to dismiss the Adversary

  Proceedings. After hearing, the Bankruptcy Court entered an order granting in part and denying

  in part the Defendants’ motion in Adversary Proceeding 18-01140. DI 44, No. 18-01140. On

  August 16, 2019, the Trustee filed an amended complaint in that proceeding. After hearing, the



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  Bankruptcy Court entered an order granting in part and denying in part the Defendants’ motion

  in Adversary Proceeding 19-01101. DI 63, No. 19-01011. On February 14, 2020, the Trustee

  filed an amended complaint in that matter.

         I.      In order to avoid incurring further cost and expense, the Trustee and the

  Defendants have agreed to settle and compromise the Trustee’s claims against the Defendants in

  the Adversary Proceedings, upon the terms and conditions set forth in this Agreement.

         NOW THEREFORE, in consideration of the promises and mutual covenants and

  agreements contained herein, the receipt and sufficiency of which are hereby acknowledged, the

  Parties hereto, intending to be legally bound, hereby covenant and agree as follows:

         1.      Settlement Subject to Court Approval.

         1.1     The enforceability of this Agreement shall be subject to and conditioned upon the

  approval of this Agreement by “Final Approval Order” (as defined in paragraph 1.2 below) of

  the Bankruptcy Court in the NECCO Bankruptcy Case. The Trustee shall use his best efforts to

  obtain entry of a Final Approval Order approving this Agreement as promptly as possible. The

  Defendants shall cooperate with the Trustee in his effort to obtain Bankruptcy Court approval of

  this Agreement.

         1.2     The Trustee shall promptly file a motion to approve this Agreement (the

  “Motion”), together with a proposed order in the form attached hereto as Exhibit A (“Approval
                        Document      Page 5 of 45
  Order”),
Case 19-01011in accordance
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  motion shall be in form and content reasonably acceptable to the Defendants. A “Final

  Approval Order” shall be the Approval Order, without any changes that have not been

  approved in writing by all Parties, upon the expiration of fourteen (14) days following the entry

  of the Approval Order unless an appeal from such Approval Order has been taken or a motion



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  for reconsideration, rehearing or to vacate or modify the Approval Order (collectively, a

  “Reconsideration Motion”) has been filed, in which event the Approval Order shall be deemed

  “Final” if and when both (a) the appeal or Reconsideration Motion, as applicable, has been

  finally adjudicated or dismissed and is not subject to any further judicial review and (b) the

  Approval Order remains unchanged or has been changed only in a manner that is agreed to in

  writing by all Parties. The date on which the Approval Order, without any changes that have not

  been approved in writing by all Parties, becomes a Final Approval Order is the “Final Approval

  Date.” In the event of an appeal or Reconsideration Motion of the Approval Order, the Parties

  shall use their best efforts to seek denial of the Reconsideration Motion, dismissal of the appeal,

  or an affirmance of the Approval Order, as applicable.

          2.     No Admission of Liability.

          2.1    The Parties intend this settlement to be a final and complete resolution of all

  claims asserted by the Trustee, and any other claims that could have been asserted by the

  Trustee, against the Defendants in the Adversary Proceedings and all claims that have been or

  could have been filed or asserted by the Defendants in the NECCO Bankruptcy Case, except as

  specifically provided herein. The Defendants do not admit any liability, nor do they admit any

  wrongdoing, however described, including without limitation, any violations of federal or state

  laws, and the Defendants expressly deny any such wrongdoing or liability. Nothing herein
                        Document     Page 6 of 45
  contained
Case 19-01011shall
               Docconstitute an adjudication
                   82 Filed 01/20/21           or finding
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                                                       18:48:08  merits as to the Trustee’s Adversary
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  Claims, and shall not be deemed to be, intended to be, or construed as an admission of liability,

  in any way on the part of any Party, or any evidence of the truth of any fact alleged or the

  validity of any claims that have been, could have been, or could be asserted.




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          2.2    Neither this Agreement, nor any act performed or document executed pursuant to

  or in furtherance of this Agreement: (a) is or may be deemed to be or may be used as an

  admission of, or evidence of, any fact, the validity of any claim, or of any wrongdoing or liability

  of the Defendants; (b) is or may be deemed to be or may be used as an admission of, or evidence

  of, any fault or omission of the Defendants in any civil, criminal or administrative proceeding in

  any court, administrative agency or other tribunal; or (c) is or shall be construed against the

  Defendants as an admission or concession that the consideration to be given hereunder represents

  the amount which could be or would have been recovered after trial. Moreover, while neither

  this Agreement nor any negotiations or proceedings connected with it may be construed, offered

  or received in evidence in any action or proceeding of any kind as an admission or concession of

  any liability or wrongdoing or otherwise, this Agreement may be offered as necessary to

  consummate, defend or enforce this Agreement or as otherwise specifically provided in this

  Agreement.

          3.     Payment Of Net Proceeds of the Debtor’s Estate.

          In full settlement and release of the Trustee’s claims in the Adversary Proceedings, any

  other claims that could have been asserted by the Trustee, and any and all claims that have been

  or could have been filed or asserted by the Defendants in the NECCO Bankruptcy Case, the

  Parties agree to the following: from the net proceeds of the liquidation of NECCO’s assets,
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  which
Case     the Trustee
     19-01011  Doc 82represents  were Entered
                       Filed 01/20/21  $9,449,748    as of
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                                                                        2020 (the “Proceeds”), the

  Trustee shall retain the amount of $7,400,000 (the “Estate Amount”) and shall pay to ACAS or

  ARCC (as directed by counsel for ACAS and ARRC) the sum of $2,049,748, plus any interest

  and additional proceeds from the liquidation of the Debtor’s assets, excluding any recoveries

  from avoidance actions under sections 544, 545, 547, 548, 549, and 550 of the Bankruptcy Code,



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  other than claims for recovery of any unauthorized disposition of post-petition collateral,

  received by the Trustee after October 23, 2020 through the Final Approval Date (the “Lender

  Amount”). The Trustee shall pay or cause to be paid the Lender Amount to ACAS or ARCC, in

  immediately available funds, not later than ten (10) days after the Final Approval Date.

          4.      Release From the Defendants.

          Effective as of the Final Approval Date and full payment of the Lender Amount, the

  Defendants, any successors and assigns, and any other person or entity claiming or that could

  claim (now or in the future) by, through or on behalf of any of them, remises, relinquishes,

  acquits, releases and discharges the Trustee, the Debtor, the Debtor’s bankruptcy estate, and each

  of their agents, and attorneys, and the predecessors, successors, assigns, and agents of all such

  parties (but only in said parties’ capacities as such) (collectively, the “Trustee Releasees”) of

  and from any claim, as that term is defined in Section 101(5) of the Bankruptcy Code, actions,

  causes of action, rights of action, dues, sums of money, accounts, bonds, bills, covenants,

  contracts, controversies, agreements, promises, suits, demands, rights, damages, costs, losses,

  fees, judgments, debts, obligations and liabilities, of any and every kind, character, nature and/or

  description whatsoever, whether matured or unmatured, accrued or unaccrued, known or

  unknown, suspected or unsuspected, contingent or non-contingent, liquidated or unliquidated,

  choate or inchoate, whether or not asserted, threatened, alleged or litigated, at law, equity or
                         Document      Page 8 of 45
  otherwise,
Case 19-01011 that
                Docthey
                    82 have   or may have
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  relating to in any way: (i) the Adversary Proceedings or any acts alleged or that could have been

  alleged therein; (ii) the Adversary Claims; and (iii) the NECCO Bankruptcy Case, including but

  not limited to claims under any revolving loan agreement, term note agreements, security

  agreements, or any other agreements, along with any claims for rent, indemnification,



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  contribution, or deficiency and hereby release any and all liens, claims, encumbrances, and

  interests in any of the assets of the Debtor’s estate, including, but not limited to, all claims set

  forth in in Claim Nos. 138-1, 139-1, 151-1, 152-1, 153-1, 154-1, 155-1, 157-1, 158-1, 158-1,

  160-1, and 161-1 in the NECCO Bankruptcy Case, and any claims to the Estate Amount, which

  shall be retained by the Trustee free and clear of all liens, claims, encumbrances, and interests of

  the Defendants, provided, however, that the secured claims of ACAS or ARCC shall be

  preserved solely to the extent necessary for ACAS or ARCC to receive the Lender Amount as set

  forth in Paragraph 3 (the “Preserved Secured Claim”).

          5.      Release Of the Defendants.

          5.1     Effective as of the Final Approval Date, the Trustee, in his capacity as trustee and

  on behalf of the Debtor, the Debtor’s bankruptcy estate, any successors and assigns and any

  other person or entity claiming or that could claim (now or in the future) by, through or on behalf

  of any of them, remises, relinquishes, acquits, releases and discharges the Defendants, and each

  of their officers, directors, agents, servants, employees, affiliates, managers, shareholders,

  members, attorneys in the Adversary Proceedings, insurers, co-insurers and reinsurers, and the

  predecessors, successors, assigns, estates, heirs, personal representatives, trustees, agents,

  executors and administrators of all such parties (but only in said parties’ capacities as such), as

  well as any person or entity insured under the Debtor’s Directors & Officers liability insurance
                         Document      Page 9 of 45
  policies,
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  action, rights of action, dues, sums of money, accounts, bonds, bills, covenants, contracts,

  controversies, agreements, promises, preferences, fraudulent conveyances, fraudulent transfers,

  claims, suits, demands, rights, damages, costs, losses, fees, judgments, debts, obligations and

  liabilities, of any and every kind, character, nature and/or description whatsoever, whether



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  matured or unmatured, accrued or unaccrued, known or unknown, suspected or unsuspected,

  contingent or non-contingent, liquidated or unliquidated, choate or inchoate, whether or not

  asserted, threatened, alleged or litigated, at law, equity or otherwise, including, without

  limitation, claims for breach of fiduciary duty, aiding and abetting breach of fiduciary duty,

  fraudulent transfer, preference or other avoidance, any other right of recovery under any

  provision of the United States Bankruptcy Code, or violations of any federal, state or local

  statutes, common law, or other laws, rules or regulations, that now exist or heretofore existed,

  that have been or could have been asserted or alleged in the Adversary Proceedings, or any other

  forum or proceeding of any kind against the Defendants (or any of them) which arise out of, are

  based upon or relate to, or are in connection with the Defendants’ transactions or dealings with,

  acts or omissions relating to, and/or relationships to (i) the Trustee (but only in his capacity as

  Trustee of the Debtor), or (ii) the Debtor or any of its business or assets, including but not limited

  to any such actions, causes of action, rights of action, dues, sums of money, accounts, bonds,

  bills, covenants, contracts, controversies, agreements, promises, preferences, fraudulent

  conveyances, fraudulent transfers, preferences, claims, suits, demands, rights, damages, costs,

  losses, fees, judgments, variances, executions, debts, obligations and liabilities arising out of,

  based upon or relating to in any way: (i) the Adversary Proceedings or any acts alleged or that

  could have been alleged therein; (ii) the Adversary Claims; and (iii) the NECCO Bankruptcy
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  Case.
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         5.2      The Trustee, in his capacity as trustee and on behalf of the Debtor and its estate,

  further waives and releases any objection that the Trustee or the Debtor might have to the

  Preserved Secured Claim, as defined in Paragraph 4, including without limitation any claim to

  subordinate, recharacterize or otherwise impair in any way such Preserved Secured Claim.



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         6.      Non-Disparagement.

         The Parties agree that they shall not disparage or otherwise take any action which could

  reasonably be expected to adversely affect the personal or professional reputation of any Party or

  of any of the Parties’ current or former directors, officers, employees, agents, executives, or

  attorneys. This Agreement in no way restricts or prevents any Party from providing truthful

  testimony concerning the other as required to enforce the terms of the Agreement or to comply

  with a court order or other legal process or from providing truthful statements made in response

  to governmental inquiries.

         7.      Assumption of The NECCO Pension Plan.

         7.1     ARCC, the Trustee, and the Pension Benefit Guaranty Corporation (“PBGC”)

  shall enter into a tri-party agreement, substantially in the form attached hereto as Exhibit A (the

  “Tri-Party Agreement”), pursuant to which, inter alia (i) ARCC or an affiliated entity

  designated by ARCC shall assume for purposes of all applicable provisions of the Employee

  Retirement Income Security Act of 1974 (“ERISA”), as amended and Section 412 of the Internal

  Revenue Code of 1986, as amended, sponsorship of the frozen NECCO Pension Plan Sixth

  Amended and Restated NECCO Pension Plan EIN XX-XXXXXXX, Plan Number 202, Plan ID

  275787 (the “NECCO Pension Plan”), and (ii) PBGC shall withdraw its claims against the

  Debtor’s estate including, without limitation, Claim Nos. 100, 101, and 102 in the NECCO
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  Bankruptcy
Case 19-01011 Case.
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                            01/20/21 Agreement    shall18:48:08
                                      Entered 01/20/21  not require
                                                                Descany payment by the Trustee or the
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  Debtor’s bankruptcy estate. The Trustee shall seek Bankruptcy Court authority to enter into the

  Tri-Party Agreement at the same time that he seeks authority to enter into this Agreement. If

  seeking such approval of the Tri-Party Agreement requires filing such agreement with the

  Bankruptcy Court, the Trustee shall make such filing under seal or shall redact the Tri-Party



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  Agreement in a manner acceptable to ARCC. ARCC, on behalf of itself and all of its affiliates,

  expressly denies that it (or any of its affiliates) is or was under “common control,” or a member

  of a “controlled group,” with NECCO (within the meaning of ERISA or Section 414 of the

  Internal Revenue Code.

          7.2    The Trustee has signed, in his capacity as Chapter 7 Trustee, Form 5500 filed

  with the Internal Revenue Service for 2018 and 2019. In connection with the transfer of the

  sponsorship of the NECCO Pension Plan to ARCC or an affiliated entity, the Trustee agrees that

  he will comply with the statutory fiduciary duties imposed upon “plan administrators” by Part 4

  of Subtitle B of Title I of ERISA.   The Trustee agrees to use reasonable efforts as a fiduciary of

  the NECCO Pension Plan to cooperate with the assumption of the NECCO Pension Plan by

  providing ARCC or its affiliated entity with all plan documents and all other related documents,

  records and data necessary to effectuate the assumption of sponsorship of the NECCO Pension

  Plan and for the administration of the NECCO Pension Plan following assumption. To the extent

  such documents, records and data are not within the actual possession of the Trustee but held by

  third parties on behalf of the Trustee, the Trustee agrees to direct such third parties to cooperate

  with ARCC or the affiliated entity in connection with any documents so requested. The Trustee

  further agrees to execute such documents as may be reasonably necessary or appropriate to effect

  the assumption of the obligations of the NECCO Pension Plan by ARCC or its affiliated entity
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  (including,
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                   82 limited  to, formal
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  Pension Plan and the power to amend and terminate such plan to ARCC or its affiliated entity;

  (ii) the trust agreement associated with the NECCO Pension Plan to ARCC or its affiliated entity,

  and (iii) such service provider agreements relating to the NECCO Pension Plan as may be

  designated by ARCC or its affiliated entity). Trustee agrees to promptly provide a copy of all



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  current service provider contracts relating to the NECCO Pension Plan to ARCC or its

  designated affiliate so that a determination can be made by them regarding which contracts will

  be assigned. To the extent such service provider contracts are not within the actual possession of

  the Trustee but held by third parties on behalf of the Trustee, the Trustee agrees to direct such

  third parties to cooperate with ARCC or the affiliated entity in connection with any documents

  so requested.

            8.    Miscellaneous.

            8.1   Incorporation of Background Paragraphs. Background paragraphs A-H above

  are incorporated herein by reference and shall be part of this Agreement and not merely recitals.

            8.2   IAM National Pension Fund Claim. On September 17, 2018, IAM National

  Pension Fund (“IAM”) filed Claim No. 148 in the amount of $1,490,237 in the NECCO

  Bankruptcy Case. ARCC and ACAS represent that they paid IAM good and valuable

  consideration in exchange for IAM’s withdrawal of Claim No. 148. On June 10, 2020, IAM

  withdrew its claim in the NECCO Bankruptcy Case. D.I. 795, Case No. 18-11217 (Bankr. D.

  Mass.).

            8.3   Further Instruments. The Parties acknowledge that it is their intent to

  consummate this Agreement and agree to cooperate to the extent reasonably necessary to

  effectuate and implement all terms and conditions of this Agreement and, except as otherwise
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  required
Case       herein,
     19-01011  Doc to
                   82 exercise   their commercially
                        Filed 01/20/21                 reasonable
                                         Entered 01/20/21 18:48:08 efforts to accomplish the terms and
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  conditions of the Agreement, including executing any further documentation and taking such

  further action as may be reasonably necessary to further effectuate or carry out the intent of this

  Agreement.




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            8.4    Confidentiality. All agreements made and orders entered during the course of the

  Adversary Proceedings relating to the confidentiality of information shall survive this

  Agreement.

            8.5    Amendment. This Agreement may be amended or modified only by a written

  instrument signed by or on behalf of all Parties or their respective successors-in-interest.

            8.6    Integration. This Agreement constitutes the entire agreement between the Parties

  and no representations, warranties or inducements have been made to any Party concerning this

  Agreement other than the representations, warranties and covenants contained and memorialized

  herein.

            8.7    Counterparts. This Agreement may be executed in one or more counterparts. All

  executed counterparts and each of them shall be deemed to be one and the same instrument.

  Signatures by facsimile or scanned PDF shall have the same effect as original signatures.

            8.8    Advice of Counsel. Each Party to this Agreement has had the opportunity to

  discuss the matter with legal counsel and enters into this Agreement only after such consultation.

            8.9    Binding. This Agreement shall be binding upon, and inure to the benefit of, the

  successors and assigns of the Parties.

            8.10   Dismissal of Claims. Upon entry of the Approval Order, the Trustee’s claims

  against the Defendants in the Adversary Proceedings shall be deemed settled and dismissed, with
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  prejudice,
Case 19-01011pursuant
               Doc 82 to Rule
                       Filed    41 of the
                             01/20/21     Federal
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                                                                        Main   made applicable to the

  Adversary Proceedings pursuant to Rule 7041 of the Federal Rules of Bankruptcy Procedure.

            8.11   Retention of Jurisdiction; Enforcement of the Agreement. The Parties request that

  this Agreement, upon approval, be incorporated in the Approval Order or otherwise entered as an

  order of the Bankruptcy Court in the NECCO Bankruptcy Case. The Parties further agree that



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  the Bankruptcy Court in the NECCO Bankruptcy Case shall retain exclusive jurisdiction to

  enforce this Agreement, provided, however, that the if the Bankruptcy Court shall decline to

  exercise such jurisdiction, the United States District Court for the District of Massachusetts shall

  have jurisdiction to enforce this Agreement.

          8.12      Governing Law. Except to the extent governed by the Bankruptcy Code, this

  Agreement and the rights and duties of the Parties hereunder shall be governed, construed,

  enforced, and performed in accordance with the law of the State of Delaware, without giving

  effect to principles of conflicts of laws that would require the application of laws of another

  jurisdiction.

          8.13      Authorization. Having read and understood the foregoing, each person executing

  this Agreement on behalf of each respective Party warrants and represents that he/she is

  authorized and empowered to execute and deliver this Agreement on behalf of such Party, and

  consents to the foregoing terms and conditions by signing below.




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       IN WITNESS WHEREOF,the Parties have executed this Agreement as of the day and

year set forth above.

                                               ACAS, LLC



   AROLD B. M RPH ,Chapter 7 Trustee
 ofthe Estates of New England Confectionery    By: Joshua Bloomstein, Authorized Signatory
 Company,Inc.
                                               ARES CAPITAL CORPORATION




                                               By: Joshua Bloomstein, Authorized Signatory

                                               ARES CAPITAL MANAGEMENT LLC.




                                               By: Joshua Bloomstein, Authorized Signatory




                                               MICHAEL MCGEE



                                               MYUNG YI



                                               r:~.~~c~~~~.r:~


                                               STEPHEN CHEHI



                                               DANIEL KATZ



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       IN WITNESS WHEREOF, the Parties have executed this Agreement as of the day and

year set forth above.

                                                ACAS, LLC



   AROLD B. MURPHY; Chapter 7 Trustee
 of the Estates of New England Confectionery    By: Joshua Bloomstein, Authorized Signatory
 Company, Inc.
                                                ARES CAPITAL CORPORATION




                                                By: Joshua Bloomstein, Authorized Signatory

                                                ARES CAPITAL MANAGEMENT LLC.




                                                By: Joshua Bloomstein, Authorized Signatory




                                                MICHAEL MCGEE



                                                MYUNG YI



                                                ANUJ KHANNA



                                                STEPHEN CHEHI



                                                DANIEL KATZ


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                                                MICHAEL MCGEE



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                                                ANUJ KHANNA



                                                STEPHEN CHEHI



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 of the Estates of New England Confectionery    By: Joshua Bloomstein, Authorized Signatory
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                                                ARES CAPITAL CORPORATION




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                                                ARES CAPITAL MANAGEMENT LLC.




                                                By: Joshua Bloomstein, Authorized Signatory




                                                MICHAEL MCGEE



                                                MYUNG YI



                                                ANUJ KHANNA



                                                STEPHEN CHEHI



                                                DANIEL KATZ



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 / AROLD B. MORPHIChapter 7 Trustee
 of the Estates of New England Confectionery    By: Joshua Bloomstein, Authorized Signatory
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                                                MICHAEL MCGEE



                                                MYUNG YI



                                                ANUJ KHANNA



                                                STEPHEN CHEHI



                                                DANIEL KATZ



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                                                ACAS, LLC



 HAROLD B. MURPHtChapter 7 Trustee
 of the Estates of New England Confectionery    By: Joshua Bloomstein, Authorized Signatory
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                                                ARES CAPITAL CORPORATION




                                                By: Joshua Bloomstein, Authorized Signatory

                                                ARES CAPITAL MANAGEMENT LLC.




                                                By: Joshua Bloomstein, Authorized Signatory




                                                MICHAEL MCGEE



                                                MYUNG YI



                                                ANUJ KHANNA



                                                STEPHEN CHEHI



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                               EXHIBIT A
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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MASSACHUSETTS
                                    EASTERN DIVISION


    In re
                                                                      Chapter 7
    NEW ENGLAND CONFECTIONERY
    COMPANY, INC.                                                     Case No. 18-11217-MSH

                      Debtor.



      ORDER APPROVING SETTLEMENT AGREEMENT RESOLVING PENDING
     ADVERSARY PROCEEDINGS AGAINST ACAS, LLC AND RELATED ENTITIES
      AND AUTHORIZING TRUSTEE TO ENTER INTO RELATED AGREEMENTS

            Upon consideration of the motion (the “Motion”) of Harold B. Murphy, the Chapter 7

trustee (the “Trustee” or “Chapter 7 Trustee”) of New England Confectionery Company, Inc.

(“NECCO Candy” or the “Debtor”), for the entry of an order pursuant to Rule 9019 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) approving he Settlement Agreement

dated as of December __, 2020 (the “Settlement Agreement”) 1 between and among the Trustee

and ACAS, LLC (“ACAS”), Ares Capital Corporation (“ARCC”), Ares Capital Management

LLC, Michael McGee, Myung Yi, Anuj Khanna, Stephen Chehi, Daniel Katz, and nominal

defendants NECCO Realty Investments, LLC, NECCO Realty MA I LLC, NECCO Realty MA II

LLC, NECCO Realty MA III LLC (collectively, the “Defendants”) and authorizing the Trustee

to enter into certain related agreements which are in furtherance of the terms of the Settlement

Agreement (the “Related Agreements”); the Court having reviewed the Motion and considered

argument in support of such Motion; and it further appearing that the relief sought in the Motion

is appropriate based on the record of the hearing held before this Court; and after due deliberation


1
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Settlement
Agreement.
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and sufficient cause appearing therefor; the Court hereby makes the following findings of fact and

conclusions of law. The findings and conclusions set forth herein constitute the Court’s findings

of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of fact

constitute conclusions of law, they are adopted as such. To the extent that any of the following

conclusions of law constitute findings of fact, they are adopted as such.

                                     FINDINGS OF FACT:

       A.      On April 3, 2018 (the “Petition Date”), three (3) of NECCO Candy’s trade

creditors filed an involuntary petition against NECCO Candy in the United States Bankruptcy

Court for the District of Massachusetts (the “Court”). On April 19, 2018, the Court held a hearing,

entered an order for relief, and granted a motion to convert the case to Chapter 11 (the

“Bankruptcy Case”). On April 20, 2018, the Court authorized the appointment of the Trustee as

Chapter 11 Trustee for NECCO Candy. On January 15, 2019, upon motion by the Chapter 11

Trustee, the case was converted to a case under Chapter 7 and the Trustee was appointed Chapter

7 Trustee of NECCO Candy.

       B.      The Defendants have filed multiple claims against the Debtor and the Debtor’s

estate including without limitation, Claim Nos. 138-1, 139-1, 151-1 through 155-1, 157-1 through

159-1, and 160-1 on account of among other things, amounts purported to be loaned to the Debtor

by ACAS, asserted indemnification rights, and rent and related charges asserted to be due under a

certain lease of the Debtor’s premises.

       C.      Following investigation, the Trustee commenced two actions against the

Defendants, respectively captioned as Murphy v. ACAS, LLC, et al., Adv. Proc. No. 18-01140 and

Murphy v. ACAS, LLC, et al., Adv. Proc. No. 19-01011 in which the Trustee seeks to disallow the



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Defendants’ claims against estate, certain affirmative recoveries against the Defendants, and

related relief (collectively, the “Adversary Proceedings”).

       D.      In Adversary Proceeding 18-01140, against ACAS, NECCO Realty Investments

LLC, and NECCO Realty (the “Debt Action”), the Trustee alleges, among other things, that

ACAS, which was an indirect shareholder of and a lender to NECCO Candy, caused NECCO

Candy to take certain actions and to enter into certain transactions that, the Trustee claims, were

intended to benefit ACAS rather than NECCO Candy. As a result of its alleged conduct the Trustee

asserts twenty-eight (28) counts against the Defendants in the Debt Action including, among

others, that ACAS should be held liable for breach of fiduciary duty; that ACAS’s claims against

NECCO Candy should be disallowed, equitably subordinated or recharacterized; that payments

allegedly made to or for the benefit of ACAS should be avoided under fraudulent transfer and

preference theories; that various entities should be consolidated with one another; that the Trustee

should obtain the benefit of certain value that was received by NECCO Realty; and that NECCO

Realty’s rent claim against NECCO Candy should also be disallowed.

       E.      In Adversary Proceeding 19-01011, against ACAS, ARCC, Ares Capital

Management LLC, and certain Defendants who served as directors and officers of the Debtor (the

“D&O Action”), the Trustee asserts that those officers and directors of NECCO Candy breached

their fiduciary duty by permitting certain transactions to take place, and preventing others from

taking place. As a result of the alleged conduct, the Trustee asserts four (4) counts for breach of

fiduciary duties against various Director Defendants in the D&O Action relating to and in

connection with (a) the Cannon Deal, (b) the termination of the Revere Lease and the imposition

of the Atlantic Lease, and (c) the liquidation of NECCO Candy’s assets. The Trustee asserts six




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(6) corresponding aiding and abetting actions against ACAS, ARCC, and Ares Capital

Management, LLC.

       F.      The Defendants dispute that they engaged in any wrongdoing, breached any

fiduciary duties, violated any laws, statutes or regulations, or that the Trustee is entitled to relief

on any claims brought or that could have been brought in the Adversary Proceedings.

       G.      On November 5, 2018, the Defendants filed motions to dismiss the Adversary

Proceedings. The Trustee filed oppositions to those motions. After hearing, the Bankruptcy Court

entered an order granting in part and denying in part the Defendants’ motion in the Debt Action.

DI 44, No. 18-01140. On August 16, 2019, the Trustee filed an amended complaint in that

proceeding. After hearing, the Bankruptcy Court entered an order granting in part and denying in

part the Defendants’ motion in the D&O Action. DI 63, No. 19-01011. On February 14, 2020,

the Trustee filed an amended complaint in that matter. The Defendants in the Debt Action

subsequently filed a separate motion to dismiss Counts VI-XVI, XIII, and XXV of the Trustee’s

amended complaint. The Defendants in the D&O Action have answered the Trustee’s complaint.

       H.      The Trustee and the Defendants have engaged in good faith negotiations with

respect to resolution of the Defendant’s claims against the estate and the claims asserted in the

Adversary Proceedings, with the aim of resolving all outstanding disputes between the Trustee,

the Debtor, the Debtor’s bankruptcy estate, and the Defendants.

       I.      Following their negotiations and an all-day mediation session on September 9,

2020, the Trustee and the Defendants have reached a comprehensive settlement of all of their

outstanding disputes, as memorialized in the Settlement Agreement. The Related Agreements

effectuate certain material provisions of the Settlement Agreement relating to the assumption of a

certain pension plan.



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                                   CONCLUSIONS OF LAW:

       1.      This Court has subject matter jurisdiction to consider the Motion and the relief

requested therein, in accordance with 28 U.S.C. §§157 and 1334.

       2.      Venue for the consideration of the Motion is properly laid in this judicial district

pursuant to 28 U.S.C. §1409.

       3.      Proper, timely, adequate and sufficient notice of the Motion, the hearing thereon

and the related objection deadline has been given in accordance with Bankruptcy Rules 2002 and

9019. The foregoing notice constitutes good, appropriate and sufficient notice, and no other or

further notice need be given.

       4.      The Court has considered the probability of success with respect to the claims of

the Defendants against the Debtor’s estate and the claims asserted in the Adversary Proceedings,

the complexity of the related litigation, and the attendant expense, inconvenience and delay, as

well as the paramount interests of creditors in this proceeding. The Court has also considered

and credited the opinion of the Trustee and his counsel in determining whether the proposed

Settlement Agreement is fair and equitable.

       5.      The Settlement Agreement falls well above the lowest point in the range of

reasonableness with respect to potential litigation outcomes. The Settlement Agreement is fair,

reasonable, equitable and in the best interests of the Debtor and its bankruptcy estate. The

Trustee exercised reasonable and appropriate business and legal judgment in determining to enter

the Settlement Agreement.

       6.      The Related Agreements are necessary to effectuate the terms of the Settlement

Agreement and the Trustee’s request for authority to enter into the Related Agreements is

warranted and should be granted.



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         7.     The Settlement Agreement will confer a significant benefit on the Debtor and its

bankruptcy estate.

         For all of the foregoing reasons, it is hereby

         ORDERED that all objections to the Motion are overruled; and it is further

         ORDERED that the Motion is granted in its entirety; and it is further

         ORDERED that the Settlement Agreement is approved, and the parties to the Settlement

Agreement are authorized to take such action as is necessary to effectuate the terms of the

Settlement Agreement; and it is further

         ORDERED that the Trustee is authorized to execute and enter into the Related

Agreements and to take such further actions as are reasonably necessary to effectuate the terms

of the Settlement Agreement; and it is further

         ORDERED that this Court shall retain jurisdiction over any and all disputes arising

under or otherwise relating to this Order.

Dated:          Boston, Massachusetts
                _________________, 2021



                                        ________________________________
                                        Honorable Melvin S. Hoffman,
                                        United States Bankruptcy Judge




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                            SETTLEMENT AGREEMENT

 This Settlement Agreement (“Agreement”), effective as of the Effective Date (defined

 below), is entered into by ACAS, LLC (“ACAS”); Necco Holdings, Inc. (“NHI”),



 Harold B. Murphy acting in his capacity as chapter 7 trustee of the estate of the New

 England Confectionary Company, Inc. (the “Trustee”); and the Pension Benefit Guaranty

 Corporation, a wholly owned United States government corporation and agency of the

 United States (“PBGC”, and collectively with ACAS, NHI and the Trustee, the “Parties”).

                                       RECITALS

    New England Confectionary Company, Inc. (“NECCO”) sponsors and maintains the

 Sixth Amended And Restated NECCO Pension Plan (the “Plan”).

    On April 17, 2018, NECCO filed a voluntary petition for relief under Chapter 7 of

 Title 11 of the United States Code (the “Bankruptcy Code”) in the United States

 Bankruptcy Court for the District of Massachusetts (the “Bankruptcy Court”).

    The Trustee is performing the obligations of the Plan’s administrator pursuant to 11

 U.S.C. § 704(a)(11).
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    The Parties are in a dispute



    The Parties have previously exchanged a draft Non-Binding Term Sheet (the “Term

 Sheet”) in an effort to move toward resolution of such dispute.

    As contemplated in the Term Sheet superseded hereby, the Parties have agreed to settle

 such dispute on the terms and subject to the conditions set forth hereinbelow.

    NOW, THEREFORE, in consideration of the foregoing, and other good and valuable

 consideration, the Parties agree as follows:

    1.      COMMITMENTS BY ACAS AND NHI

    A. Assumption of Plan Sponsorship by NHI

    As soon as practicable but in no event later than five Business Days after the Effective

 Date (as defined below), ACAS shall cause NHI to and NHI shall, pursuant to the terms of

 an assumption agreement which ACAS, NHI and the Trustee shall execute (the

 “Assumption Agreement”), assume for purposes of all applicable provisions of the

 Employee Retirement Income Security Act of 1974, as amended (“ERISA”) and the

 Internal Revenue Code of 1986, as amended (the “Code”) including without limitation

 Sections 412 and 430 thereof, sponsorship of the Plan from NECCO, including the power

 to amend and terminate the Plan by action of NHI subject to the requirements of ERISA

 (such assumption, the “Plan Assumption” and the date thereof, the “Assumption Date”).

 ACAS or NHI shall provide to PBGC evidence of the Plan Assumption
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    B. Make Up Contribution

    Within ten Business Days after the Assumption Date, NHI shall make a contribution to

 the Plan equal to



                (the “Make Up Contribution”; the date of such contribution, the

 “Contribution Date”).
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     2.      COMMITMENTS BY PBGC

     A. Release

     Upon the later of the Plan Assumption Date and the Contribution Date, PBGC, on

 behalf of itself, its successors, and their officers, directors, employees, agents,

 representatives, and attorneys, shall be deemed to withdraw, release, remise, forgive,

 acquit, settle, compromise and forever discharge the Trustee, NECCO, NECCO’s

 bankruptcy estate, and related parties




                                                                    from and against any

 and all claims of every kind or nature whatsoever, relating in any way to the Plan,

 including, without limitation, filed Claim Nos. 100-1, 101-1, and 102-1 (PBGC shall

 withdraw such filed Claims as soon as practicable following the effectiveness of this

 release).



                               .

     B. Acknowledgement

     Other than payment of the Make Up Contribution, PBGC represents that it is not aware

 of any action that is required for the Plan or the sponsor thereof to presently come into
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 compliance with Title IV of ERISA and the minimum funding standards set forth in Title

 I of ERISA and the Code.

    C. No Further Claims

    PBGC agrees that, upon payment of the Make Up Contribution to the Plan after the

 Assumption Date, PBGC will have no claims relating to the Plan against ACAS or NHI

                                                     or any officers or employees thereof

 or any other ACAS affiliates that arose prior to the Assumption Date.




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    3.      COMMITMENTS BY THE TRUSTEE

 A. All Necessary Actions

    The Trustee agrees to take all actions reasonably necessary to expeditiously cause the

 transfer of sponsorship from NECCO to NHI, including, but not limited to, entering into

 the Assumption Agreement with ACAS and NHI as contemplated by Section 1.A. hereof

 and making any required governmental filings.
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 B. Court Approval

    The Trustee shall seek Bankruptcy Court authority to enter into this Agreement at the

 same time the Trustee seeks Bankruptcy Court approval of that certain settlement

 agreement between the Trustee and ACAS, Ares Capital Corporation, Ares Capital

 Management LLC, et al




                                                                                      .

    4.      MISCELLANEOUS PROVISIONS

         A. Specific Performance

    The Parties agree that irreparable damage for which monetary relief, even if available,

 would not be an adequate remedy, would occur in the event that any provision of this

 Agreement is not performed in accordance with its specific terms or is otherwise breached,

 including if a Party fails to take any action required of it hereunder to consummate the

 transactions contemplated by this Agreement. To the fullest extent permitted by law, the

 Parties acknowledge and agree that (i) the Parties shall be entitled to seek an injunction or

 injunctions, specific performance or other equitable relief to prevent breaches of this

 Agreement and to enforce specifically the terms and provisions hereof, without proof of

 damages or otherwise, this being in addition to any other remedy to which they are entitled

 under this Agreement,         , or at law or in equity, and (ii) the right of specific

 enforcement is an integral part of the transactions contemplated by this Agreement and

 without that right, the Parties would not have entered into this Agreement. The Parties
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 agree not to assert that a remedy of specific enforcement is unenforceable, invalid, contrary

 to law or inequitable for any reason, and not to assert that a remedy of monetary damages

 would provide an adequate remedy or that the Parties otherwise have an adequate remedy

 at law. The Parties acknowledge and agree that any party seeking an injunction or

 injunctions to prevent breaches of this Agreement and to enforce specifically the terms and

 provisions of this Agreement shall not be required to provide any bond or other security in

 connection with any such order or injunction.

        B. Successors and Assigns

    This Agreement shall be binding upon and shall inure to the benefit of the successors

 and assigns of each Party. No assignment or delegation of the obligations hereunder shall

 be made by any Party without the prior written consent of the other Parties, except by

 operation of law; provided, however, that ACAS or NHI may, without consent, assign or

 delegate any obligations hereunder, except those under Section 1 hereof, to an affiliate.

        C. No Third Party Beneficiaries Except the Plan

    Nothing in this Agreement is intended or may be construed to give any person or entity,

 other than ACAS, NHI, PBGC, the Plan, and the Trustee and their respective successors,

 any legal or equitable right, remedy, or claim under or in respect to this Agreement or any

 conditions and provisions contained herein. This Agreement and any conditions and

 provisions hereof are intended to be for the sole and exclusive benefit of ACAS, NHI,

 PBGC, the Plan, and the Trustee and their respective successors, and for the benefit of no

 other person or entity. Nothing expressed or mentioned in or to be implied from this
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 Agreement gives any other person or entity any legal or equitable right, remedy, or claim

 against the Parties under or in respect of this Agreement.

         D. No Admissions

     This Agreement shall not operate as an admission of liability, or of any fact, by any

 Party. Neither this Agreement nor any action taken pursuant to this Agreement may be

 offered or received in evidence in any action or proceeding as an admission of liability or

 wrongdoing by any Party except in connection with any Party’s obligations hereunder

                . No Party may seek to offer this Agreement, or any communications

 related to it, as evidence in any adversary proceeding or other litigation (other than

 proceedings to enforce this Agreement                ).

         E. Amendments

     This Agreement may not be changed, modified or altered except in writing signed by

 all Parties.

         F. Entire and Integrated Agreement

                                                              , the Parties agree that this

 Agreement represents the sole and exclusive agreement between the Parties with respect

 to all matters set forth herein and that all prior communications, representations,

 undertakings and understandings with respect hereto including, without limitation, the

 Term Sheet, are merged into and superseded by this Agreement.

         G. Severability

     If any provision of this Agreement, or the application thereof, shall for any reason or
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 to any extent be construed by a court of competent jurisdiction to be invalid or

 unenforceable, then the remainder of this Agreement, and application of such provisions

 to other circumstances, shall remain in effect if both the economic and legal substance of

 the transactions contemplated thereby are not materially affected in any manner adverse to

 the Parties. Otherwise, the Parties shall negotiate in good faith to rewrite any such

 provision so as to, as nearly and fairly as possible, approach the economic and legal

 substance originally intended.

        H. Waiver of Breach

    Any waiver by a Party of a breach shall be effective only if made in writing and duly

 executed by the Party alleged to have waived the breach. The waiver by any Party of a

 breach by another Party of any provision of this Agreement shall not operate or be

 construed as a waiver of any subsequent breach.

        I. Consideration

    The Parties agree that sufficient consideration has passed among them by virtue of this

 Agreement, including the releases, promises, payments and other provisions herein, all of

 which the Parties deem valid, valuable and enforceable.

        J. Notices

    All notices, demands or other communications which may be or are required to be given

 under this Agreement shall be in writing and shall be given electronically and by a

 nationally recognized overnight delivery service, addressed to the Party who is to receive

 same (or to such other address as any Party shall notify the other Party by notice given in

 accordance with this Section 4.I.) as follows:
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               As to ACAS:




               As to NHI:




               As to the PBGC:




               As to the Trustee:




        K. Joint Drafting

    Each of the Parties participated in drafting this Agreement, and each has read, fully

 reviewed, and understands each of the provisions of this Agreement. Each Party has relied

 on the advice and representation of competent legal counsel of its own choosing in

 connection with the drafting and execution of this Agreement. Therefore, the language of

 this Agreement shall not be presumptively construed in favor of or against any Party in
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 accordance with any rule of law, legal decision or doctrine.

        L. Governing Law; Jurisdiction and Venue; No Jury

    This Agreement shall be governed by and construed and enforced in accordance with

 ERISA, the Code and any other applicable federal law and to the extent not preempted by

 federal law, the laws of the Commonwealth of Massachusetts, without regard to

 Massachusetts’s choice of law provisions. To the fullest extent permitted by law, the

 Parties irrevocably agree to submit to the jurisdiction of the Bankruptcy Court in the event

 that any action or proceeding is brought with respect to or in connection with this

 Agreement and agree that the Bankruptcy Court shall be the exclusive venue for any such

 action or proceeding. In the event that the Bankruptcy Court determines that either

 jurisdiction or venue is inappropriate, the Parties agree that to the fullest extent permitted

 by law, jurisdiction and venue under this paragraph shall instead be in the United States

 District Court, District of Massachusetts. To the fullest extent permitted by law, each of

 the Parties waives any objection that they may now or hereafter have to the venue of such

 action or proceeding in such court or that such action or proceeding was brought in an

 inconvenient court and agree not to plead or claim the same.

 TO THE FULLEST EXTENT PERMITTED BY LAW, THE PARTIES HEREBY

 KNOWINGLY, VOLUNTARILY AND INTENTIONALLY WAIVE ANY RIGHT

 THEY MAY HAVE TO A TRIAL BY JURY IN RESPECT OF SUCH ACTION OR

 PROCEEDING.

        M. Section Headings

    The section headings contained in this Agreement are for reference purposes only and
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 shall not affect in any way the meaning or interpretation of this Agreement.

        N. Pronouns

    All references made and all pronouns used herein shall be construed in the singular or

 plural and in such gender as the context or circumstances require.

        O. Voluntary Execution

    This Agreement is executed voluntarily by each of the Parties. At the time of the

 execution of this Agreement, each of the Parties acknowledges that it was not under duress

 or undue influence and that he or it has relied upon the advice of competent legal counsel

 of he or its own choosing in connection with the execution of this Agreement.

        P. Authority of Signatories

    The individuals signing this Agreement and the Party on whose behalf such individuals

 are signing, hereby represent and warrant that they are empowered and authorized to sign

 on behalf of and bind the Party for whom they have signed.

        Q. Execution in Counterparts

    This Agreement may be executed in one or more counterparts, each of which shall, for

 all purposes, be deemed to be an original and all of which, when taken together, shall

 constitute the same instrument notwithstanding that the Parties may not have signed the

 same counterpart.

        R. Electronic Signatures

    This Agreement may be executed in one or more counterparts and by different Parties

 on separate counterparts, each of which will be deemed an original, but all of which

 together will constitute one and the same instrument. Delivery of an executed counterpart
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 by emailed PDF file



                                                  will be equally as effective as delivery of an

 original executed counterpart.

        S. Cooperation; Further Assurances;

    The Parties agree to reasonably cooperate in the implementation of this Agreement.

 From time to time, as and when reasonably requested by any Party hereto, any other Party

 hereto shall execute and deliver, or cause to be executed and delivered, all such documents

 and instruments and shall take, or cause to be taken, all such further or other actions as

 such other Party may reasonably deem necessary or desirable to consummate the

 transactions contemplated by this Agreement.



                                              .

        T. Certain Definitions

    “Effective Date” shall mean the date upon which all of the Parties have exchanged

 executed signature pages or, if later, the date that the Bankruptcy Court enters an order

 approving this Agreement.

    “Business Day” means any day other than Saturday, Sunday, federal holiday or other

 day on which PBGC is authorized or required by law, executive order or government

 decree to be closed.

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Case 19-01011       Doc 82     Filed 01/20/21 Entered 01/20/21 18:48:08      Desc Main
                               Document      Page 42 of 45




       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed on the

 date(s) indicated below their respective signatures.


 ACAS, LLC:


 By:


 Name:


 Title:


 Date:
Case 19-01011      Doc 82     Filed 01/20/21 Entered 01/20/21 18:48:08    Desc Main
                              Document      Page 43 of 45




       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed on

 the date(s) indicated below their respective signatures.


 NECCO Holdings, Inc.:


 By:


 Name:


 Title:


 Date:
Case 19-01011      Doc 82     Filed 01/20/21 Entered 01/20/21 18:48:08    Desc Main
                              Document      Page 44 of 45




       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed on

 the date(s) indicated below their respective signatures.


 PBGC:


 By:


 Name:


 Title:


 Date:
Case 19-01011      Doc 82     Filed 01/20/21 Entered 01/20/21 18:48:08    Desc Main
                              Document      Page 45 of 45




       IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed on

 the date(s) indicated below their respective signatures.



 Chapter 7 Trustee for the estate of NECCO:


 By:


 Name: Harold B. Murphy


 Title: Bankruptcy Trustee


 Date:
